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                                                                                                                                                                                                              UNITED STATES DISTRICT COURT
                                                                                                                                                                                                              EASTERN DISTRICT OF LOUISIANA

	  
        IN RE: OIL SPILL by the OIL RIG                                                                                                                                                                                                                                                                             *               MDL NO. 2179
        “DEEPWATER HORIZON” in the                                                                                                                                                                                                                                                                                  *
        GULF OF MEXICO, on APRIL 20, 2010                                                                                                                                                                                                                                                                           *               CIVIL ACTION NO. 2:10-MD-02179
                                                                                                                                                                                                                                                                                                                                    SECTION: J
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  *	  
        THIS DOCUMENT RELATES TO:                                                                                                                                                                                                                                                                                    *              JUDGE BARBIER
                                                                                                                                                                                                                                                                                                                                    MAG. JUDGE SHUSHAN
        Applies to: All cases in B3 Pleading Bundle
        ********************************************************************

                      PLAINTIFF MALCOLM COCO’S SUPPLEMENTAL OPPOSITION TO NALCO’s
                                            MOTION FOR SUMMARY JUDGMENT
                       (Pertaining to July 24, 2012 Order ordering filing of NALCO Exhibits “D” and “F”)


                                                           NOW INTO COURT, through undersigned counsel, comes Plaintiff, Malcolm

        Alphonse Coco, to supplement his Opposition (Doc # 6705; June 18, 2012) to NALCO’s

        Motion For Summary Judgment. (# 6541; filed May 18, 2012).1

                                                           This Supplemental Opposition is limited to discussion of Exbibits “D” and “F” to

        NALCO’s Motion. Both were originally filed under seal, then refiled on July 18 (as #s

        6928-1 and 6928-2) with partial readactions, and on July 24 this Court ordered (#8681)

        that the redacted version be filed as unsealed exhibits.

                                                           These exhibits are NOT the applications to EPA for approval of Cerexit, despite

        anyhint NALCO may insinuate or intimate:

	                                                         -Ex. “D” was NALCO’s Application to EPA for approval of Corexit 9500, heavily
                                                           redacted.

                                                           Ex. “F”, the much more important of these documents (for what it omits regarding the
                                                           9527, the version with the highly toxic butoxyethylene, contains only a fleeting totally
                                                           irrelevant mention of 9527/butoxyethelene
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
       	  Mr.	  Coco	  is	  the	  Plaintiff	  in	  Malcolm	  Alphonse	  Coco,	  III	  v.	  BP,	  Nalco	  Company,	  et	  al.	  (11-­‐cv-­‐946).	  
	  

                                                                                                                                                                                                                                                                                                                   1	  
	  
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                                                           Although these exhibits both still contain redactions, they reveal the following

        information that shows that NALCO is not entitled to summary judgment:

                                                           1. NALCO, regarding both Exhibit “D” (its application to EPA for approval of


Corexit 9500) and Exhibit “F” (its application to EPA foe approval of Corexit 9527, the

verision with butoxyethanol) still has not shown that it provided the EPA with all of the

information required under 40 C.F.R., Part 300 (“Environmental Protection Agency;

National Oil And Hazardous Substances Pollution Contingency Plan”); Sections 915

(“Data Requirements”)2;


                                                           2. In none of these filings has NALCO shown that it ever advised EPA of the

        severe kidney and liver damage that could be caused by butoxyethanol;
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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     	  NALCO	  still	  has	  not	  offered	  any	  proof	  that	  it	  complied	  with	  915	  (c),	  (d)	  and	  (e),	  which	  require:	  
	  
(c)	  The	  submitter	  may	  assert	  that	  certain	  information	  in	  the	  technical	  product	  data	  submissions,	  including	  technical	  
product	  data	  submissions	  for	  sorbents	  pursuant	  to	  §	  300.915(g)(3),	  is	  confidential	  business	  information.	  EPA	  will	  
handle	  such	  claims	  pursuant	  to	  the	  provisions	  in	  40	  CFR	  part	  2,	  subpart	  B.	  Such	  information	  must	  be	  submitted	  
separately	  from	  non-­‐confidential	  information,	  clearly	  identified,	  and	  clearly	  marked	  “Confidential	  Business	  
Information.”	  If	  the	  submitter	  fails	  to	  make	  such	  a	  claim	  at	  the	  time	  of	  submittal,	  EPA	  may	  make	  the	  information	  
available	  to	  the	  public	  without	  further	  notice;	  	  

(d)	  The	  submitter	  must	  notify	  EPA	  of	  any	  changes	  in	  the	  composition,	  formulation,	  or	  application	  of	  the	  dispersant,	  
surface	  washing	  agent,	  surface	  collecting	  agent,	  bioremediation	  agent,	  or	  miscellaneous	  oil	  spill	  control	  agent.	  On	  
the	  basis	  of	  this	  data,	  EPA	  may	  require	  retesting	  of	  the	  product	  if	  the	  change	  is	  	   likely	  to	  affect	  the	  effectiveness	  or	  
toxicity	  of	  the	  product;	  and	  	  

(e)	  The	  listing	  of	  a	  product	  on	  the	  NCP	  Product	  Schedule	  does	  not	  constitute	  approval	  of	  the	  product.	  To	  avoid	  
possible	  misinterpretation	  or	  misrepresentation,	  any	  label,	  advertisement,	  or	  technical	  literature	  that	  refers	  to	  the	  
placement	  of	  the	  	  product	  on	  the	  NCP	  Product	  Schedule	  must	  either	  reproduce	  in	  its	  entirety	  EPA's	  written	  
statement	  that	  it	  will	  add	  the	  product	  to	  the	  NCP	  Product	  Schedule	  under	  §300.920(a)(2)	  or	  (b)(2),	  or	  include	  the	  
disclaimer	  shown	  below.	  If	  the	  disclaimer	  is	  used,	  it	  must	  be	  conspicuous	  and	  must	  be	  fully	  reproduced.	  Failure	  to	  
comply	  with	  these	  restrictions	  or	  any	  other	  improper	  attempt	  to	  demonstrate	  the	  approval	  of	  the	  product	  by	  any	  
NRT	  or	  other	  U.S.	  Government	  agency	  shall	  constitute	  grounds	  for	  removing	  the	  product	  from	  the	  NCP	  Product	  
Schedule.	  

	  

                                                                                                                                                                                                                                                    2	  
	  
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                                                           3. Regarding Corexit 9500 (Exhibit “D”), the testing company NALCO used for

        its 1994 report to EPA was United Sates Testing Company, Inc. U.S. Testing has a

        lengthy history of involvement in presenting fraudulent test data to the federal

        government. 3

                                                           4. Exhibit “F” is nothing more than brief follow-up letter to EPA. It does not

        remotely support NALCO’s contention that it complied with the CFR requirements

        undersigned counsel has previously discissed., NALCO STILL has not shown its

        application to EPA for the Corext 9527/butoxyethanol, even a redacted version. Given

        one opportunity after another NALCO still has not shown that it even told EPA of the

        highly toxic dangers of 9527/butoxyethanol to humans.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
        3
             	  	  Although	  undersigned	  counsel	  has	  not	  conducted	  discovery	  of	  NACO,	  a	  quick	  review	  of	  the	  internet	  revealed	  
        numerous	  tricles	  and	  documents	  regarding	  U.S.	  Testing’s	  history	  of	  defrauding	  EPA>	  Among	  them:	  
        	  
        “The	  E.P.A.	  temporarily	  suspended	  United	  States	  Testing	  from	  getting	  new	  contracts	  in	  1989	  and	  1990,	  
        saying	  the	  company	  had	  lied	  about	  test	  results,	  forged	  records	  and	  improperly	  disposed	  of	  hazardous	  
        samples”.	  “Doubts	  Remain	  AfterLab	  Loses	  Nuclear	  Contract”	  	  New	  York	  Times,	  June	  3,	  1990.	  	  Avaialble	  at:	  
        http://www.nytimes.com/1990/06/03/us/doubts-­‐remain-­‐after-­‐lab-­‐loses-­‐nuclear-­‐
        contract.html?pagewanted=all&src=pm	  
        	  
        “Back	  in	  1991,	  United	  States	  Testing	  Company	  pleaded	  guilty	  	  to	  falsifying	  tests	  for	  the	  Environmental	  
        Protection	  Agency	  in	  the	  late	  ‘80s”	  “An	  Industrial	  Testing	  Company	  Wtht	  A	  Shady	  Past”.	  Available	  at:	  
        http://hoboken411.com/archives/37625	  
        	  
        “U.S.	  EPA	  suspeneded	  U.S.	  Testing	  from	  federal	  contracts,	  April	  25,	  1990.	  The	  notice	  of	  suspension	  
        alleges	  that	  the	  management	  of	  U.S.	  Testing	  “conspired,	  directed,	  carried	  out,	  and	  otherwise	  condoned	  a	  
        scheme	  to	  defraud	  the	  U.S.	  government….	  The	  notice	  also	  alleges	  that	  this	  scheme	  “resulted	  in	  
        thesubmission	  of	  false,	  inaccurate,	  and	  unreliable	  test	  results	  and	  data….	  U.S.	  Testing	  admitted	  
        wrongdoing	  and	  pleaded	  guilty	  to	  a	  felony	  on	  April	  17,	  1991.	  (“Hanford	  Special	  Exposure	  Cohort	  Petition	  
        Evaluation	  Report”,	  U.S.	  National	  Institute	  for	  Occupational	  Safety	  and	  Health;	  p.	  18)	  	  (available	  at:	  
        www.cdc.gov/niosh/ocas/pdfs/abrwh/pres/hnfrd0511.pdf	  )	  
        	  
        “On	  April	  24,	  1990,	  EPA	  Suspended	  U.S.	  Testing	  Inc.,	  a	  major	  participant	  in	  EPA’s	  Contract	  Laboratory	  
        Program….The	  Comnpalint	  initiated	  by	  Region	  X’s	  Suspension	  and	  Disbarment	  Team	  alleged	  theat	  U.S>	  
        Testing’s	  laboratories	  in	  Richland,	  WA	  and	  Hoboken,	  NJ	  submitted	  false	  and	  unreliable	  data	  to	  EPA…”	  
        (Available	  at:	  www.epa.gov/.../reports/accomplishments/oeca/fy90accomp-­‐rpt.pdf	  )	  ((Attached	  as	  
        Exhibit	  1)
	  

                                                                                                                                                                                                                                                    3	  
	  
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                                                           5. Also regarding Exhibit “F” (Corexit 9252/butoxyethanol) NALCO still has not

        revealed who “tested” it, as required by Section 915(a).4

                                                           6,7, and 8. Finally, along with Subsection “a”(above) of Section 915, other sections of 40

C.F.R. Sec. 300.915 that NALCO has not provided any proof of complying with include “c”,

“d”, and “e”:


                                                                                                                      (c) The submitter may assert that certain information in the technical product data
                                                                                                                      submissions, including technical product data submissions for sorbents pursuant
                                                                                                                      to § 300.915(g)(3), is confidential business information. EPA will handle such
                                                                                                                      claims pursuant to the provisions in 40 CFR part 2, subpart B. Such information
                                                                                                                      must be submitted separately from non-confidential information, clearly
                                                                                                                      identified, and clearly marked “Confidential Business Information.” If the
                                                                                                                      submitter fails to make such a claim at the time of submittal, EPA may make
                                                                                                                      the information available to the public without further notice;

                                                                                                                      (d) The submitter must notify EPA of any changes in the composition,
                                                                                                                      formulation, or application of the dispersant, surface washing agent, surface
                                                                                                                      collecting agent, bioremediation agent, or miscellaneous oil spill control agent.
                                                                                                                      On the basis of this data, EPA may require retesting of the product if the change is
                                                                                                                      likely to affect the effectiveness or toxicity of the product; and

                                                                                                                      (e) The listing of a product on the NCP Product Schedule does not constitute
                                                                                                                      approval of the product. To avoid possible misinterpretation or misrepresentation,
                                                                                                                      any label, advertisement, or technical literature that refers to the placement of the
                                                                                                                      product on the NCP Product Schedule must either reproduce in its entirety EPA's
                                                                                                                      written statement that it will add the product to the NCP Product Schedule under §
                                                                                                                      300.920(a)(2) or (b)(2), or include the disclaimer shown below. If the disclaimer is used,
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
        4
             	  Section 915(a) sates:

          (12) The technical product data submission shall include the identity of the laboratory that performed
the required tests, the qualifications of the laboratory staff, including professional biographical information for
individuals responsible for any tests, and       laboratory experience with similar tests. Laboratories performing
toxicity tests for dispersant toxicity must demonstrate previous toxicity test experience in order for their results
to be accepted. It is the responsibility of the submitter to select competent         analytical laboratories based on
the guidelines contained herein. EPA reserves the right             to refuse to accept a submission of technical product
data because of lack of      qualification of the analytical laboratory, significant variance between submitted data
          and any laboratory confirmation performed by EPA, or other circumstances that would result in
inadequate or inaccurate information on the dispersing agent.

	  

                                                                                                                                                                                                                                                    4	  
	  
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                     it must be conspicuous and must be fully reproduced. Failure to comply with these
                     restrictions or any other improper attempt to demonstrate the approval of the product by
                     any NRT or other U.S. Government agency shall constitute grounds for removing the
                     product from the NCP Product Schedule.

       CONCLUSION:

       It is respectfully submitted that NALCO’s Motion for Summary Judgment be denied.

                                                       Respectfully submitted,

                                                      /s/ Daniel E. Becnel, Jr.
                                                      Daniel E. Becnel, Jr. (2926)
                                                      BECNEL LAW FIRM, LLC
                                                      106 W. SEVENTH ST.
                                                      P.O. DRAWER H
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                                                      (985) 536-1186
                                                      dbecnel@becnellaw.com

                                                       Attorney for Plaintiff in:
                                                      Malcolm Alphonse Coco v BP, NALCO et al.
                                                      (11-cv-946)

	  
	  
                                        CERTIFICATE OF SERVICE
	  
               I hereby certify that the above and foregoing pleading has been served on All Counsel
       by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial
       Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
       the United States District Court for the Eastern District of Louisiana by using the CM/ECF
       System, which will send a notice of electronic filing in accordance with the procedures
       established in MDL 2179, on this this 1st day of August, 2012.
                                                                         /s/ Daniel E. Becnel, Jr.	  	  




                                                         5	  
	  
